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        EXHIBIT G
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                                              Exhibit G to the Greenbaum Declaration


Document      Basis for Sealing             Clearly Defined and         Why a Less Restrictive           Any Prior         Party in
Title/ECF                                   Serious Injury that         Alternative to the Re-           Order Sealing     Opposition to
No.                                         Would Result if the Re-     lief Sought is Not Avail-        the Same          Sealing, if
                                            lief is Not Granted         able                             Materials in      any, and Basis
                                                                                                         the Pending
                                                                                                         Action
Exhibit 12    Exhibit 12 is a letter        If relief is not granted,   A redacted, public ver-          No                No objection
to letter     from counsel for Save         SaveOn would be at a        sion of the Letter is be-
dated April   On SP LLC (“SaveOn”)          competitive disadvantage    ing filed. It is believed
19, 2024      to counsel for Johnson &      should its proprietary      that no less restrictive al-
[ECF No.      Johnson Health Care           non-public business in-     ternative is available to
312]          Systems, Inc. (with its       formation and strategy      prevent the disclosure of
              affiliates, “J&J”). Exhibit   be disclosed to competi-    SaveOn’s proprietary
              12 references                 tors and other market       business information.
              information about             participants.
              SaveOn’s business
              strategy—comprising
              proprietary business
              information—obtained
              by J&J through
              discovery. See ECF No.
              312 at Ex. 12.
Exhibit 39    Exhibit 39 is a               If relief is not granted,   It is believed that no less      Yes. See, e.g.,   No objection
to letter     confidential deposition       SaveOn would be at a        restrictive alternative is       ECF No. 287
dated April   transcript of a SaveOn        competitive disadvantage    available to prevent the         at Ex. 3.
19, 2024      employee, containing          should its proprietary      disclosure of SaveOn’s
[ECF No.      direct and substantive        non-public business         proprietary business in-
312]          reference to SaveOn’s         information be disclosed    formation.
              business strategy,            to competitors and other
              comprising proprietary        market participants.
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              business information.
              See ECF No. 312 at Ex.
              39.
Exhibit 40    Exhibit 40 is a recording    If relief is not granted,   It is believed that no less No                  No objection
to letter     of a call made by a          the patient would be        restrictive alternative is
dated April   SaveOn employee to           harmed by the disclosure    available to prevent the
19, 2024      J&J. The call contains       of their confidential       disclosure of the pa-
[ECF No.      confidential patient         health information.         tient’s confidential health
312]          health information,                                      information.
              including a patient’s
              birth date and address.
              See ECF No. 312 at Ex.
              40.
Exhibit 41    Exhibit 41 is a recording    If relief is not granted,   It is believed that no less No                  No objection
to letter     of a call made by a          the patient would be        restrictive alternative is
dated April   SaveOn employee to           harmed by the disclosure    available to prevent the
19, 2024      J&J. The call contains       of their confidential       disclosure of the pa-
[ECF No.      confidential patient         health information.         tient’s confidential health
312]          health information,                                      information.
              including a patient’s
              birth date and address.
              See ECF No. 312 at Ex.
              41.
Exhibit 46    Exhibit 46 is a letter       If relief is not granted,   A redacted, public ver-          No             No objection
to letter     from counsel for J&J to      SaveOn would be at a        sion of the Letter is be-
dated April   counsel for SaveOn. The      competitive disadvantage    ing filed. It is believed
19, 2024      letter discusses SaveOn’s    should its proprietary      that no less restrictive al-
[ECF No.      designation of a             non-public business in-     ternative is available to
312]          deposition transcript, see   formation and strategy      prevent the disclosure of
              ECF No. 312 at Ex. 39,       be disclosed to competi-    SaveOn’s proprietary
              as “Attorneys’ Eyes          tors and other market       business information.
              Only.” The letter quotes     participants.
              from and characterizes

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              the deposition transcript,
              which contains SaveOn’s
              business strategy,
              comprising proprietary
              business information.
              See ECF No. 312 at Ex.
              46.
Exhibit 47    Exhibit 47 is a letter       If relief is not granted,   A redacted, public ver-          No             No objection
to letter     from counsel for J&J to      SaveOn would be at a        sion of the Letter is be-
dated April   counsel for SaveOn.          competitive disadvantage    ing filed. It is believed
19, 2024      Exhibit 47 references        should its proprietary      that no less restrictive al-
[ECF No.      information about            non-public business in-     ternative is available to
312]          SaveOn’s business            formation and strategy      prevent the disclosure of
              strategy—comprising          be disclosed to competi-    SaveOn’s proprietary
              proprietary business         tors and other market       business information.
              information—obtained         participants.
              by J&J through
              discovery. See ECF No.
              312 at Ex. 47.
Exhibit 31    Exhibit 31 is a letter       If relief is not granted,   A redacted, public ver-          No             No objection
to letter     from counsel for SaveOn      SaveOn would be at a        sion of the Letter is be-
dated May     to counsel for J&J.          competitive disadvantage    ing filed. It is believed
7, 2024       Exhibit 31 references        should its proprietary      that no less restrictive al-
[ECF No.      SaveOn’s operating           non-public business in-     ternative is available to
312]          strategy and protocols       formation and strategy      prevent the disclosure of
              for its call centers,        be disclosed to competi-    SaveOn’s proprietary
              comprising proprietary       tors and other market       business information.
              business information         participants.
              obtained by J&J through
              discovery. See ECF No.
              312 at Ex. 31.




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Exhibit 39   Exhibit 39 is an image of    If relief is not granted,   A redacted, public ver-          No             No objection
to letter    a patient’s profile from     the patient would be        sion of the Image is be-
dated May    J&J’s Salesforce             harmed by the disclosure    ing filed. It is believed
7, 2024      platform. Exhibit 39         of their confidential       that no less restrictive al-
[ECF No.     contains confidential        health information.         ternative is available to
312]         patient health                                           prevent the disclosure of
             information, including                                   the patient’s confidential
             identifying ID numbers                                   health information.
             and the patient’s date of
             birth.
Exhibit 41   Exhibit 41 is a recording    If relief is not granted,   A redacted, public ver-          No             No objection
to letter    and transcript of a call     the patient would be        sion of the Transcript is
dated May    made by a SaveOn             harmed by the disclosure    being filed. It is believed
7, 2024      employee to J&J. The         of their confidential       that no less restrictive al-
[ECF No.     call contains confidential   health information.         ternative is available to
312]         patient health                                           prevent the disclosure of
             information, including a                                 the patient’s confidential
             patient’s birth date and                                 health information.
             address. See ECF No.
             312 at Ex. 41.                                           The recording is being
                                                                      sealed because it is be-
                                                                      lieved that no less re-
                                                                      strictive alternative is
                                                                      available to prevent the
                                                                      disclosure of the pa-
                                                                      tient’s confidential health
                                                                      information.
Exhibit 42   Exhibit 42 is a recording    If relief is not granted,   A redacted, public ver-      No                 No objection
to letter    and transcript of a call     the patient would be        sion of the Transcript is
dated May    made by a SaveOn             harmed by the disclosure    being filed. It is believed
7, 2024      employee to J&J. The         of their confidential       that no less restrictive al-
[ECF No.     call contains confidential   health information.         ternative is available to
312]         patient health                                           prevent the disclosure of

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             information, including a                                the patient’s confidential
             patient’s birth date and                                health information.
             address. See ECF No.
             312 at Ex. 42.                                        The recording is being
                                                                   sealed because it is be-
                                                                   lieved that no less re-
                                                                   strictive alternative is
                                                                   available to prevent the
                                                                   disclosure of the pa-
                                                                   tient’s confidential health
                                                                   information.
Exhibit 43   Exhibit 43 is a             If relief is not granted, It is believed that no less Yes. See, e.g.,     No objection
to letter    confidential deposition     SaveOn would be at a      restrictive alternative is  ECF No. 287
dated May    transcript of a SaveOn      competitive disadvantage available to prevent the     at Ex. 3.
7, 2024      employee, containing        should its proprietary    disclosure of SaveOn’s
[ECF No.     direct and substantive      non-public business       proprietary business in-
312]         reference to the contents   information be disclosed formation.
             of SaveOn’s business        to competitors and other
             strategy. See ECF No.       market participants.
             312 at Ex. 43.
Exhibit 56   Exhibit 56 is a             If relief is not granted,   It is believed that no less No                No objection
to letter    spreadsheet containing      the patient would be        restrictive alternative is
dated May    patient data for patients   harmed by the disclosure    available to prevent the
14, 2024     enrolled in CarePath.       of their confidential       disclosure of the pa-
[ECF No.     Exhibit 56 contains         health information.         tient’s confidential health
312]         confidential patient                                    information.
             health information,
             including patients’ dates
             of birth and addresses.
             See ECF No. 312 at Ex.
             56.




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